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 Sabine Augustin
 751 NE 180th St
 Miami, Fl 33162                                                      , JUL 12 2019
 (305)331-7261/sabineaugustin@hotmail.com

 July 9th, 2019                                                       f
 Honorable Judge Robert A Mark
 Judge of Bankruptcy
 301 N Miami Ave Miami, Fl 33128


        Dear Judge Mark,

        I am Sabine AUGUSTIN, I am a licensed practitioner nurse in the state of
 Florida. I'm writing this letter to see if you can take my case into consideration. My late
 husband Arnex Augustin, who passed last year on the 28th of February was discharged
 of bankruptcy about two months ago. After his passing, I, Sabine took the responsibility
 to continue making those payments monthly. I recently received two checks from the
 trustee office addressed to my late husband Arnex Augustin. When I received those
 checks I called the trustees office to inform them on the passing of my husband. I was
 instructed to return those checks and was also told that I had 3 other payments in their
 possession. The reason I'm writing you this letter is because with advice I was told to
 contact you in helping me retrieve these checks that are in my husbands name. I would
 basically need a court order stating that I, Sabine Augustin can get my late husbands'
 check and the three overpayments but into my name because I unknowingly continued
 making payments after the bankruptcy was discharged.


                                                                               Respectfully,
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                                                                            Sabine Augustin    \
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